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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------X

In re:                                                          Case No. 17-11524

1018 MORRIS PARK AVE. REALTY INC.,
                                                                Chapter 11
                                    Debtor.
------------------------------------------------------X

                   ORDER PURSUANT TO SECTION 327(a) OF THE
              BANKRUPTCY CODE AUTHORIZING THE EMPLOYMENT OF
               ORTIZ & ORTIZ, L.L.P. AS ATTORNEYS FOR THE DEBTOR

         Upon the application (the “Application”) of 1018 Morris Park Ave. Realty Inc.(the

“Debtor”), as debtor and debtor in possession, dated July 5, 2017, for entry of an order pursuant

to 11 U.S.C. § 327(a) authorizing and approving the employment of Ortiz & Ortiz, L.L.P. (“O &

O”) as its attorneys; upon the Declaration of Norma E. Ortiz, Esq., a partner of the firm of O &

O; it appearing that the members of O & O are admitted to practice before this Court; the Court

being satisfied that O & O represents no interest adverse to the Debtor and its estate as to the

matters upon which it is to be engaged, is disinterested under 11 U.S.C. §101(14), and that the

employment of O & O is necessary and in the best interest of the Debtor and its estate; due

notice of the Application having been given to the United States Trustee, and it appearing that no

other or further notice need be given; sufficient cause appearing therefore, it is

         ORDERED, that the Application is granted to the extent set forth herein; and it is further

         ORDERED, that pursuant to 11 U.S.C. § 327(a) of the Bankruptcy Code, the Debtor is

authorized to employ O & O as its attorneys under the terms and conditions set forth in the

Application; and it is further

         ORDERED, that prior to any increases in O & O rates for any individual retained by O &

O and providing services in this case, O & O shall file a supplemental affidavit with the Court
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and provide ten business days’ notice to the Debtor, the United States Trustee and any official

committee. The supplemental affidavit shall explain the basis for the requested rate increases in

accordance with Section 330(a)(3)(F) of the Bankruptcy Code and state whether O & O’s client

has consented to the rate increase. The United States Trustee retains all rights to object to any

rate increase on all grounds including, but not limited to, the reasonableness standard provided

for in section 330 of the Bankruptcy Code, and the Court retains the right to review any rate

increase pursuant to Section 330 of the Bankruptcy Code.


Dated: New York, New York
       July 17, 2017
                                                     /s/ Sean H. Lane
                                                     HON. SEAN H. LANE
                                                     U.S. BANKRUPTCY JUDGE


NO OBJECTION:


  /s/Richard C. Morrissey          r
Office of the United States Trustee
